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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 TERRE HAUTE DIVISION

BENJAMIN KING,                        )
                                      )
                      Plaintiff,      )
                                      )
       vs.                            )      Case No. 2:14-cv-0070-WTL-DKL
                                      )
DEPAUW UNIVERSITY,                    )
                                      )
                      Defendant.      )


              PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

       The Plaintiff, Benjamin King, by counsel, William W. Drummy and Holly A. Reedy, and

 pursuant to Fed. R. Civ. P. 56, respectfully moves the Court to grant partial summary judgment

 against the Defendant, DePauw University, on King’s claim for defamation.

       As shown by the pleadings, by the evidence tendered in support of this motion, and by the

undisputed facts and arguments contained in King’s Brief in Support of Motion for Summary

Judgment, there is no genuine issue as to any material fact, and King is entitled to judgment as a

matter of law.

       WHEREFORE, the Plaintiff, Benjamin King, respectfully moves the Court to enter partial

summary judgment in his favor and against the Defendant, DePauw University, on his claim for

defamation.

                                                 Respectfully Submitted,

                                                 /s/ William W. Drummy
                                                 William W. Drummy, #4607-84

                                                 /s/ Holly A. Reedy
                                                     Holly A. Reedy, #27558-84




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                                 CERTIFICATE OF SERVICE

            I certify that on November 3, 2014, a copy of the foregoing document was filed
    electronically. Notice of this filing will be sent to the following parties by operation of
    the Court's electronic filing system. Parties may access this filing through the Court's
    system:

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                                                   /s/ Holly A. Reedy
                                                   Holly A. Reedy




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